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                          UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

DATHAN L. SAUER,

Plaintiff,                                                     Case No. 4:19-cv-01573

v.                                                         Honorable Judge Nancy F. Atlas

SRA ASSOCIATES,

Defendant.

                                  NOTICE OF SETTLEMENT

         PLEASE TAKE NOTICE that Dathan L. Sauer (“Plaintiff”), hereby notifies the Court

that Plaintiff and Defendant SRA Associates have settled all claims between them in this matter

and are in the process of completing the final closing documents and filing the dismissal.



Respectfully submitted this 29th day of July, 2019.

                                                            Respectfully submitted,

                                                            s/ Omar T. Sulaiman
                                                            Omar T. Sulaiman
                                                            Sulaiman Law Group, Ltd.
                                                            2500 S. Highland Avenue, Suite 200
                                                            Lombard, IL 60148
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                                                            osulaiman@sulaimanlaw.com
                                                            Attorney for Plaintiff




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                                  CERTIFICATE OF SERVICE

          I hereby certify that I today caused a copy of the foregoing document to be electronically

filed with the Clerk of Court using the CM/ECF system which will be sent to all attorneys of

record.


                                                              s/ Omar T. Sulaiman_____
                                                              Omar T. Sulaiman




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